        Case 24-10500-mdc         Doc 19     Filed 03/14/24 Entered 03/14/24 13:24:17              Desc
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Form OL241 (3/23)


                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                 )
    Kristy Marie Castagna                              )          Case No. 24−10500−mdc
                                                       )
                                                       )
     Debtor(s).                                        )          Chapter: 13
                                                       )
                                                       )


                                                   ORDER

       AND NOW, it is ORDERED that since the debtor(s) have failed to timely file the documents required by the
order dated February 15, 2024, this case is hereby DISMISSED.


                       DATE: March 14, 2024                       _______________________________
                                                                  Magdeline D. Coleman
                                                                  Chief Judge, United States Bankruptcy Court


Missing Documents:
Matrix
Chapter 13 Plan
SSN − Form B121
Statement of Financial Affairs
Atty Disclosure Statement
